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20                        UNITED STATES DISTRICT COURT
21           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
22   NANCY FIEDLER, et al.,                                Case No. 2:21-cv-07065-PA-MRW
                                                           Honorable Percy Anderson
23
      Plaintiffs,
24
                                                           DECLARATION OF DARYL
                                                           EBERSOLE, P.E., CFEI IN
25   vs.                                                   SUPPORT OF OPPOSITION TO
                                                           UNITED STATES’ MOTION TO
26                                                         DISMISS PLAINTIFFS’ FIRST
     UNITED STATES OF AMERICA                              AMENDED COMPLAINT FOR
27                                                         LACK OF SUBJECT MATTER
      Defendant.                                           JURISDICTION
28                                                         [Fed.R.Civ.P.12(b)(1)]


                                                 1
                       DECLARATION OF DARYL EBERSOLE, P.E., CFEI IN SUPPORT OF
                          OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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 1            I, DARYL EBERSOLE, P.E., CFEI, declare as follows:
 2            1.      I respectfully submit this Declaration pursuant to F.R.C.P. Rule 56(d) on behalf of all
 3   Plaintiffs. I have personal knowledge of the matters stated herein and could and would competently
 4   so testify if called as a witness herein.
 5            2.      I am a Professional Engineer, licensed in the State of California and 36 other states,
 6   and am a Certified Fire and Explosion Investigator.
 7            3.      I have over 40 years of experience including in the fields of electrical power and
 8   control systems. My experience includes investigations of causes of fires. I have in the past led the
 9   fire investigation practice group and I currently lead the electrical engineering practice group at
10   Robson Forensic, Inc.
11            4.      My experience includes electrical system design, operation, maintenance, and
12   inspections. I have significant experience in management and supervision of others in electrical
13   system design, operation, maintenance, and inspections. This experience includes selection of proper
14   materials, electrical raceways, conduit, routing of electrical conductors, protection of electrical
15   conductors, and fire ignition prevention of electrical conductors and systems. It also includes proper
16   design and selection of materials for harsh environmental conditions of aggressive contaminants and
17   moisture.
18            5.      Based on my education, experience, and training as an electrical engineer, I was hired
19   on behalf of Plaintiffs in this matter as an expert on issues related to, among other things, the
20   Conception’s electrical systems and wiring.
21            6.      In my capacity as an expert electrical engineer, I was asked to attend inspections of
22   the wreckage of the Conception on behalf of Plaintiffs.
23            7.      I personally participated in several inspections, which took place at Port Hueneme
24   Naval Base.
25            8.      My inspections occurred on the dates of June 28 – 29, 2021, and August 9 – 10, 2022.
26            9.      The inspections of the wreckage of the Conception revealed the presence of non-
27   marine grade electrical conditions, including wiring, wiring practices, insufficient electrical raceways,
28   and insufficient wiring protection, located in the bunkhouse area.


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                              DECLARATION OF DARYL EBERSOLE, P.E., CFEI IN SUPPORT OF
                                 OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
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 1           10.     The presence of these electrical conditions in that area of the vessel posed a fire hazard
 2   in the context of a marine environment.
 3           11.     It is well known in the engineering and scientific communities that safe electrical
 4   systems and prevention of fires in the marine environment require elimination of the conditions that
 5   were found on the Conception.
 6           12.     I declare under the penalty of perjury under the laws of the United States of America
 7   that the foregoing is true and correct. Executed on July 6, 2024, in the County of Lancaster,
 8   Pennsylvania.
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                             DECLARATION OF DARYL EBERSOLE, P.E., CFEI IN SUPPORT OF
                                OPPOSITION TO UNITED STATES’ MOTION TO DISMISS
